
In re Louisiana Citizens Property Insurance Corporation; — Defendant; Applying For Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. M, No. 687-441; to the Court of Appeal, Fifth Circuit, No. 12-C-45.
Granted. The case is remanded to the district court for reconsideration in light of Duckworth v. Louisiana Farm Bureau Mutual Ins. Co., 11-2835 (La.11/2/12), — So.3d -, 2012 WL 5374248, and Quinn v. Louisiana Citizens Property Ins. Corp., 12-0152 (La.11/2/12), — So.3d -, 2012 WL 5374255.
